      Case 1:20-cv-03010-APM              Document 1214          Filed 04/10/25        Page 1 of 3




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
UNITED STATES OF AMERICA, et al.,         )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3010 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )
_________________________________________
                                          )
STATE OF COLORADO, et al.,                )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3715 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )

                                                ORDER

        As discussed at the Pre-Hearing Conference held on April 10, 2025, the court orders the

following with regard to the presentation and release of evidence during the remedies-phase trial

proceedings. 1

        I.       Hearing Materials

        The court adopts the process proposed by the parties in Part I.A.1.b (Confidentiality

Designations During the Evidentiary Hearing) of their Joint Status Report, ECF No. 1196.

The parties and non-parties shall endeavor in good faith to resolve any confidentiality disputes



1
 This Order resolves The New York Times Company’s Motion for Access to Judicial Records and Proceedings, ECF
No. 1192.
      Case 1:20-cv-03010-APM            Document 1214         Filed 04/10/25       Page 2 of 3




before an exhibit or demonstrative is used at the hearing. In the event an agreement cannot be

reached, the dispute shall be brought to the court’s immediate attention so that it can be

expeditiously resolved to enable the exhibit or demonstrative’s use.

       The portions of an admitted exhibit or demonstrative that were presented in open court

and precleared for public use pursuant to the parties’ confidentiality review process shall be

provided to the Designated Press Representative no later than 10:00 AM the day following the

exhibit’s admission into evidence or the demonstrative’s use in court. If any such portions are

not timely provided to the Designated Press Representative, the party that sponsored the exhibit

or demonstrative shall state on the record, at the start of the next hearing day, (1) the number of

the exhibit or demonstrative, (2) the reason it was not timely provided, and (3) when it will be

released.

       For portions of an admitted exhibit or demonstrative that were presented in open court but

not precleared for public use pursuant to the parties’ confidentiality review process, the parties

and any affected non-party shall, within two business days of the day the exhibit was admitted

into evidence or the demonstrative was used in court, either (1) release such portions to the

Designated Press Representative or (2) raise any confidentiality disputes with the court.

       The court will establish a separate procedure for disclosing exhibits that were pushed into

evidence on a later date.

       II.     Closed-Session Testimony

       The court institutes the following procedure for proposed closed-session testimony:

(1) A party that believes a closed session will be required for either the direct or cross-examination

of a witness shall so notify the court by the end of the hearing day immediately preceding the day

of the witness’s expected testimony; (2) the court will docket the anticipated closed session the




                                                  2
      Case 1:20-cv-03010-APM            Document 1214         Filed 04/10/25      Page 3 of 3




evening before the witness’s expected testimony; and (3) the court will consider arguments and

objections with respect to the proposed closed session, including from a media representative, at

9:15 AM the day of the witness’s expected testimony.

       In the event of a closed session, the parties and the non-party witness, if applicable, shall

review the transcript and propose redactions in the manner presented during the liability-phase

trial proceedings within 24 hours of receipt of the transcript, unless additional time is granted for

good cause shown.




Dated: April 10, 2025                                        Amit P. Mehta
                                                       United States District Judge




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